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                                  January 11, 2021
                                                               USDC SDNY
                                                               DOCUMENT
Honorable Kimba M. Wood                                        ELECTRONICALLY FILED
United States District Judge                                   DOC #: ______________
Southern District of New York                                  DATE FILED: _1/12/2021______
500 Pearl Street
New York, NY 10007

      Re:    United States v. Grant Grandison              MEMO ENDORSED
             21 Cr. 00001 (KMW)

Dear Judge Wood:

       I write to request a temporary modification of Mr. Grandison’s bail conditions
to allow him to travel to the Finger Lakes in upstate New York with his wife and      DENIED
daughter on Friday, January 15, 2020 and return to his home in the Bronx, New         -KMW
York on Monday, January 18, 2020. Mr. Grandison’s daughter turns 16 years old
on Thursday, January 14, 2020 and Mr. Grandison wishes to take her skiing for the
weekend. If the Court grants his request, he will provide his travel itinerary and
accommodations to his Pretrial Service’s Officer (“PTSO”) and abide by any
conditions set by Pretrial Services and the Court.

       On December 7, 2020, Mr. Grandison was released on the following
conditions: a $100,000 personal recognizance bond secured by two financially
responsible persons; home detention enforced by electronic monitoring; pretrial
supervision as directed; surrender travel documents and make no new applications;
travel restricted to SDNY and EDNY; maintain or seek employment; and defendant
not to possess a firearm.

       Mr. Grandison’s PTSO reports that Mr. Grandison is in full compliance with
his conditions of release with no issues to report but opposes this request as it is the
policy of Pretrial Services to oppose requests for bail modifications for social events
or activities for clients who are on home detention in that such events contradict the
intended goals of the location monitoring program. The government agrees with
Pretrial Services and opposes the request.
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       In light of Mr. Grandison’s compliance to date with his release conditions, the
limited duration of this travel request, and the family oriented nature of the
proposed travel, I respectfully submit that the request does not create a risk of
flight nor does it endanger the community.

      Therefore, I request that the Court temporarily modify Mr. Grandison’s
conditions of release for the purpose and duration stated above.


                                              Respectfully submitted,

                                              /s/ Amy Gallicchio
                                              _____________________________
                                              Amy Gallicchio
                                              Assistant Federal Defender
                                              O: 212-417-8728
                                              M: 917-612-3274


Cc    AUSA Alexandra Rothman
      PTSO Marlon Ovalles




         Defendant’s request is denied, in order to serve the
         intended goals of the location monitoring program.

         SO ORDERED.
         Dated: January 12, 2021
         New York, NY


                /s/ Kimba M. Wood
         The Honorable Kimba M. Wood
         United States District Judge
